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                        EXHIBIT “S”
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                 MISS GLOBAL 2018 HOSTING AGREEMENT

     This Agreement is entered into as of ______________, 2018 ("Effective date") by and
     between:

        (A)     MISS GLOBAL ORGANIZATION, LLC (LIMITED LIABILITY
           COMPANY)

     Registered address: 11101 Condor Ave. Fountain Valley, California 92708. United
     States
     Registered number: 201209810211
     Representative: Mr. Van M. Pham
     Position: CEO & Founder
     Tel: 1.888.765.5508 Fax: 1.888.333.7179
     Email: van@missglobalofficial.com
     (hereinafter called "MGO") and

        (B)        JIN SUNG

     Registered address: No. 4945. 425 Teheran – Ro, Sam Sung – Dong, Gangnam – Gu,
     Seoul, Korea

     Registered number: ______________________________________________________
     Representative: Kim Hyung Jun
     Position/Title: CEO / Chairman
     Tel: +82 2 552 5624 Mobile: +82 10 5026 6910 Fax: +82 2 558 6689
     Email: rlarkdi1021@naver.com
     (hereinafter called "HOST")


     MGO and HOST are hereinafter collectively referred to as "both Parties" or "the
     Parties" and separately as "each Party" or "a Party".




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                                          RECITAL

     WHEREAS, MGO runs its business as a world-class international beauty pageant
     featuring delegates between the ages of 18-32 from around the world. Miss Global
     Organization is limited liability company established under the laws of California,
     USA.

     WHEREAS, HOST is an established business based in Korea with the
     professional experience to host the international beauty pageant MISS
     GLOBAL 2018.

     WHEREAS, HOST will serve as the organization to host and professionally co-
     produce the Miss Global 2018 pageant for approximately 2-3 weeks in SEOUL,
     SOUTH KOREA on an approved date temporarily slated from FRIDAY, NOVEMBER
     1ST, 2018 - SUNDAY, NOVEMBER 18Th 2018 (hereinafter referred to as “PAGEANT
     WEEKS”).

     WHEREAS, this Agreement is intended to record the understandings reached by the
     Parties. The Parties rely on this Agreement to cooperate in organizing Miss Global 2018
     in SOUTH KOREA. This Agreement may be amended from time to time given
     negotiating results between two parties.

     Therefore, Now MGO and HOST agree to conclude this Agreement with the following
     terms and conditions:

     1.    PAGEANT

     The parties shall cooperate to co-produce the Miss Global 2018 Beauty Pageant
     ("Event"), to comprise part of MGO's preexisting pageant franchise currently known as
     ["The Miss Global Beauty Pageant"] ("Franchise"), comprising of 1 main coronation
     event and a Preliminary - Global Fashion Event, as well as the other elements described
     in this Agreement, with the parties' respective responsibilities allocated per this
     Agreement:
        a) MISS GLOBAL 2018 "Finale Event"- coronation night on , SATURDAY,
            NOVEMBER 17th, 2018 at the following venue in South Korea:
            _________________________________________________________________
            _________________________________________________________________
            _________________________________________________________________

          b) MISS GLOBAL 2018 - Preliminary which entails Charity Global Fashion
             Event, Swimsuit, and Evening Gowns, to be held one week prior to the
             coronation temporarily on SATURDAY, NOVEMBER 10TH, 2017 at the
             following venue in South Korea:
             ________________________________________________________________



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             ________________________________________________________________
             ________________________________________________________________
             The Preliminary Charity Global Fashion Event will feature and highlight a
             variety of international designers collection and local couture fashion in South
             Korea featuring the Miss Global contestants.

     If circumstances beyond the control of either party require adjustment of the date(s), the
     parties shall negotiate in good faith upon a new date(s) within 2018 that will not have a
     negative impact in hosting Miss Global 2018 for MGO and such reasonable adjustment
     to the terms of this Agreement as may be appropriate.

     2.     Responsibilities and Obligation of HOST

     1.     HOST's Rights
          (a) HOST's presenting sponsors will appear in any advertisement's form as the
             Event's sponsor(s). Host understands sponsors can not be affiliated with alcohol
             or tobacco or any products that may negatively effect the Miss Global brand
             without MGO’s approval.

          (b) HOST is entitled to broadcasting and distribution rights for the Miss Global
            2018 Event in SOUTH KOREA only and is responsible with all costs associated
            in broadcasting it nationally in SOUTH KOREA .

          (c) HOST is entitled to select 5 of 10 judges. Judges must not be a conflict of
            interest in judging the Miss Global 2018 Pageant. Judges can not be a staff,
            delegate, or employee of HOST. Judges must be able to communicate in English
            fluently

     2.    HOST'S OBLIGATIONS
           Host will be responsible for arranging for, seeking sponsors and/or paying all
     costs associated with:

            a) HOST COUNTRY LICENSING FEE: HOST will pay MGO the licensing
               fee in the amount of seven hundred fifty thousand ($750,000) USD to
               exclusively host the MISS GLOBAL 2018 BEAUTY PAGEANT in SOUTH
               KOREA. 25% of Licensing fee must be paid within 3 days to MGO upon the
               execution of this agreement or no later than APRIL 25TH, 2018th. The 2nd –
               4th installments of the remaining 75% to be divided into three (3) even
               payments paid within 2 weeks from each other over the duration of six (6)
               weeks upon the execution of this agreement date or no later than MARCH 2,
               2018. The final remaining balance of $520,000USD must be paid by no later
               than JUNE 5, 2018. HOST will wire-transfer the licensing fee to MGO’s
               bank account as follows:

                CHASE BANK – 808 E. Main Street Alhambra, CA 91801
                SWIFT CODE – CHASUS33 OR CHASUS33XXX


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              MISS GLOBAL ORGANIZATION, LLC
              11101 Condor Ave. Fountain Valley, CA 92708
              ACCOUNT #: 932313559
              ROUTING #: 322271627

          b) VENUE: Venue for the Miss Global 2018 Coronation Night and other
             potential venues and/or locations as needed for Miss Global 2018 rehearsals,
             photo-shoots, and any additional events as agreed by both parties. The
             selected and approved venue for MISS GLOBAL 2018 must be reserved for a
             minimum of 5 days for stage set up, rehearsals, technical run through, and for
             the main coronation. Venue must be booked and secured within 45 days of
             executing this Agreement to officially book and confirm the Miss Global
             2018 Coronation Night, whichever is sooner. HOST will provide a copy of
             the signed Venue Agreement for MGO.

     3.    STAGE SET: HOST will secure sponsor or provide adequate professional
           lights, stage set and design. Stage set will be up to international broadcast
           standards with at least the following: Risers suitable for at least 75 contestants,
           high gloss flooring, and LED screen(s) large enough for stage usage. Without
           limiting the generality of the foregoing, HOST shall consult with MGO in
           advance, and get MGO’s advance written approval, regarding stage set and
           design so that said aspects work well for the Pageant and international HD
           broadcasting. MGO shall render its approval or comments thereto within fifteen
           (15) calendar days from HOST’S consultation of stage and set design,
           otherwise, HOST shall treat the same to be approved. As a reference, stage set
           needs to be designed professionally and up to quality as shown in EXHIBIT B
           of this agreement. Stage set will be original design and will not be a duplication
           of other stage sets unless approved by MGO. HOST will work closely with
           MGO to design the most professional and suitable stage design for Miss Global
           2018. Stage set design must be approved 90 days prior to the Miss Global 2018
           coronation night tentatively scheduled for SATURDAY, NOVEMBER 17TH,
           2018.

     4.    VIDEO PRODUCTION: HOST will secure and responsible for all costs
           associated for broadcast production native HD 1920x1080p video production for
           the Miss Global 2018 coronation night. Video production will include live
           switching, minimum of 8 HD cameras with minimum of two 30ft+ jib/crane,
           one HD camera for dolly & track usage, and all other personnel and things
           necessary to record the Production including for purposes of the Program
           defined below as well as, if required, for delayed broadcasting by third parties;
           and editing, sound design, music, mixing, color correction, and all other
           personnel and things necessary for post-production to create a program of the
           approved Production ("Program”) by MGO, no later than 30 days from the date
           of the Miss Global 2018 Finale Event, of a technical and creative standard
           suitable for international native HD 1080p broadcast. All production and post-


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           production services, and the Program, shall be provided pursuant to a program
           outline and production and postproduction plan to be negotiated in good faith
           between the parties. HOST will finalize final edit and obtain approval of MGO
           prior to any broadcasting. Video Camera requirements are at least of equal
           quality or better as follows: Panasonic AJ-HPX 3100 or AJ-PX5000.

     5.    ENTERTAINERS and PERSONNEL: HOST shall be responsible for
           negotiating and contracting with and paying any fees or expenses as may be
           necessary for local entertainers, and personnel (whether employees, contractors,
           volunteers, or otherwise) or companies which are sourced or contracted with by
           HOST or anyone related to HOST. Entertainment must be approved by MGO.
           Entertainers’ music selections and dress code must be suitable for the Miss
           Global 2018 and have music clearance for international tv broadcasting.

     6.    ACCOMMODATION: HOST will provide or secure sponsorship for a 4 to 5
           star hotel accommodation for approximately 3 weeks for delegates, MGO’s staff
           and crew, judges, sponsors, co-host and any potential entertainers. Delegates and
           staff will share a room with 2 people per room provided rooms have two queens
           or double beds that is suitable and comfortable for such accommodation. HOST
           will secure a minimum total of approximately 50 double occupancy rooms for
           MGO during the 2-3 weeks of competition. In case of additional delegates
           competing more than estimated amount, MGO will inform HOST no later than
           30 days for the additional accommodation for the delegates. The rooms will
           include 3 suites for MGO executives and for the current Miss Global reigning
           queen. In addition, up to 10 rooms for 2 weeks of accommodation for early
           arrivals of MGO staff and crew and 5 rooms for 1 week extended stay after the
           Miss Global 2018 Pageant for MGO’s staff and Miss Global 2018 Royal Court
           to do promotional tour of SOUTH KOREA. Room must be comfortable, clean,
           and will include wi-fi and AC. The official residency and/or Hotel must be
           secured within 90 days upon the execution of this Agreement. HOST will
           provide a copy of the signed hotel accommodation agreement for MGO’s
           approval.

     7.    FOOD: HOST will provide or secure sponsorship for 3 meals a day (breakfast,
           lunch, dinner) for all MGO’s staff & crew, delegates, judges and invited
           sponsors during the entire duration of the 2-3 week pageant competition as well
           as for MGO’s staff and crews’ early arrival or extended stay of approximately 1
           week. Meals must have adequate portions and reasonably healthy food for
           delegates to maintain their proper diet for the competition. Adequate water
           bottles, fresh fruit and/or snacks must be provided throughout the duration of the
           entire pageant weeks.

     8.    TRANSPORTATION: HOST will provide or secure sponsorship for at least
           two charter buses for ground transportation during the duration of pageant
           weeks. Charter buses should accommodate 40+ passengers per bus for delegates,
           staff and crew, judges, selected entertainers, and hosts, among such persons who


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           are sourced and contracted with by MGO. HOST will also provide a separate
           passenger vehicle along with a driver to escort Miss Global staff for any
           necessary production related usage.

     9.    PUBLICITY AND PROMOTIONAL MATERIALS: HOST is responsible
           for arranging and paying for publicity and advertising including any potential
           costs associated with any promotional items as needed or requested by MGO:
           promo flyers, posters, billboards, designing and printing program booklets, press
           releases and printing tickets for the events including promos for TV
           broadcasting in SOUTH KOREA.

     10.   HAIR AND MAKEUP ARTISTS: HOST will provide or secure sponsorship
           for a local team of professional and experienced hair and makeup artists for all
           necessary photo-shoots, and events during pageant weeks. Hair and Makeup
           artists will be a team of no less than 30 qualified professionals. HOST’s selected
           Hair and Makeup artists will provide portfolio or website for MGO’s approval.

     11.   SECURITIES: HOST will provide professional and qualified securities for all
           activities, events and overall safety of all the delegates and MGO’s staff, crew,
           judges, entertainers, and anyone associated with the Miss Global 2018
           production during the entire duration of hosting the Miss Global 2018 in
           SOUTH KOREA.

     12.   PERMIT: HOST will provide and be responsible in fully securing any and all
           proper event and location permits required for all activities, events and photo
           shoots in SOUTH KOREA. Permit for the Miss Global 2018 final coronation
           night must be granted and approved by NO LATER THAN 90 DAYS upon the
           execution of this Agreement. Host will provide a copy of the permit to MGO.

     13.   VISA DOCUMENTS: HOST will provide and secure support documents
           (welcome or invitation letter) from SOUTH KOREA officials such as the South
           Korea’s Ministry of Tourism or embassy officials to help delegates obtain any
           necessary required traveling visa to enter SOUTH KOREA.

     14.   INSURANCE: HOST will provide and pay for production insurance that will
           meet all venue requirements and include MGO as an additional insured.
           Insurance must include medical coverage for all MGO staff and delegates.

     15.   SCORING: HOST will be responsible in providing a professional CPA
           (Certified Professional Accountant) team and approved by MGO to do score
           tabulation for the MISS GLOBAL 2018.


     3.    RIGHTS AND OBLIGATIONS OF MGO



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     3.01   Rights of MGO

            (a)   All materials are copyrighted by MGO and reserve the rights for
                  worldwide broadcasting and distribution outside of SOUTH KOREA.

     3.02 Obligations of MGO

            (a)   Guaranteed minimum of 55 delegates and up to 80 delegates pending on
                  size of venue, scale of production, and sponsorship

            (b)   Provide necessary MGO staff to manage the contestant and co-produce
                  the pageant such as choreography, runway training, etc., at its own
                  expense.

            (c)   Will provide one main English speaking MC/host for event, at its own
                  expense.

            (d)   Will provide international airfares to South Korea for any necessary
                  MGO staff and delegates, at its own expense.

            (e)   Will provide prizes, gifts, sashes and crowns, at its own expense.

            (f)   Will provide additional judges and host as needed

            (g)   Will provide behind the Scene/Reality Show Production, at its own
                  expense.

            (h)   Will provide photography team for all professional photo-shoots, at its
                  own expense.

            (i)   Will provide at least 2 hair & makeup supervisors to oversee HOST’s
                  local hair and makeup team.

     4.     REVENUE SHARING: MGO will retain 30% of all net profit share after
     all expenses not to exceed $2million in connection with the MISS GLOBAL 2018
     Pageant. Any net profit will be disbursed to MGO by no later than 5 business days.

            (a)   Tickets: HOST will be responsible and accountable for ticket transaction
                  and printing. Each party will obtain 250 complimentary tickets for
                  sponsors, VIP guests, etc. Tickets will be available at box office for
                  purchase at least three (3) months prior to Miss Global 2018.

            (b)   Sponsorship: All monetary revenue received as sponsorship in
                  connection with the MISS GLOBAL 2018 Pageant shall be paid directly
                  to the acquiring party; Notwithstanding the foregoing, the parties shall
                  keep each other reasonably apprised of such potential sponsors as it may


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                    be targeting, so as not to present a conflicting approach vis-a-vis third
                    parties. For purposes of clarification, any costs due to the relevant
                    sponsorship agreement shall be deducted solely from the Acquiring

            (c)     Any and all revenue sharing (ticket sales) and expense sharing or fees is
                    subject to the entitled party having satisfactorily provided all relevant
                    services to that point in time and not being in material breach of this
                    Agreement or any other agreement related to the Production. Except as
                    otherwise expressly provided herein, no other fees, reimbursement,
                    revenue participation or other compensation of any form shall be owed
                    by one party to the other party, now or in the future in connection
                    herewith.

     5.     SCHEDULE: Both parties will work to organize and co-produce Miss Global
     2018 accordingly to the tentative schedule as referenced on EXHIBIT A. Both parties
     understand it is a tentative schedule and will work in good faith in making any
     modifications as needed. Changes to the schedule will need approval by MGO.

     6.      AUDITING: MGO shall be entitled to inspect and copy the records of HOST at
     its respective places of business, including with an outside auditor if desired; any
     discrepancy larger than 5% shall be subject to discussions between MGO and HOST to
     resolve the issue and which findings is more accurate. In the event that the findings of
     MGO is found to be more accurate, HOST shall reimburse MGO the costs of the audit
     (as well as for the discrepancy itself) within ten (10) business days. HOST agrees that
     MGO may audit competition data, balance sheet, budgets, documents (written and
     electronic) and communications. HOST agrees to provide MGO a full and completed
     financial record for the event in the form of a P&L (Profit and Loss) statement, which
     identifies each source of revenue, including gifts ies each source of revenue, inc)
     business days post event.

     7.     STANDARDS OF CONDUCT

            (a)     HOST understands and agrees that the Miss Global 2018 Pageant is
                    considered a MGO event. Therefore HOST agrees its organizers, staff,
                    sponsors and volunteers will conduct themselves and administer the Miss
                    Global 2018 Beauty Pageant according to the highest ethical and
                    professional standards.

            (b)     HOST organizers, staff and volunteers are not MGO employees

     8.      OWNERSHIP; INTELLECTUAL PROPERTY: All right, title, and interest
     in the Pageant, Franchise, Production and Program, and all elements related to any of
     the foregoing, including the format, brand, titles, logos, and trade dress, graphics,
     footage, still photos, B-roll, ther fees, reind other visual elements, script outline, themes
     dialogue, and all other elements thereof (altogether the the er the the foregoing,
     including the format, brHOST and all results and proceeds of the services of HOST and



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     any personnel or companies engaged in connection with HOST, whether or not such
     results or proceeds are conveyed and regardless of the manner conveyed (altogether the
     any of the foregoing, including the format, brand, titles, logos, and trade dress, graphics,
     footage, still photos, B- include any and all future editions of the Pageant or any variant
     thereof, whether as part of the Franchise or otherwise, any and all TV or webseries or
     feature or other motion pictures (whether fictional and/or documentary), short form
     content, consumer products, merchandise, apps (eg, iOS, Android), and all other
     derivative works. If any portion of the Work is adjudged not to be a work made for hire,
     HOST hereby irrevocably assigns, and shall cause any relevant personnel or company
     to assign irrevocably, to MGO any and all rights therein, in perpetuity throughout the
     universe. The aforementioned rights shall include the right, but not the obligation, to
     reproduce, distribute, make available, publicly display or perform, and otherwise exploit
     the Work, in any and all formats and languages (whether dubbed or subtitled), in
     combination with other material, including the right to edit or otherwise alter, and
     including but not limited to theatrical, ancillary, non-theatrical, DVD/Bluray, VCDs,
     other videograms, VOD (eg, subscription), iPhones, iPads, other mobiles & tablets of
     any platform, stage and other live performance, location-base entertainment, theme
     parks, and other experiential usages, including promotions and advertising. HOST
     hereby waives all, and will not exercise any, and shall cause its related personnel to
     waive and not exercise, any ‘moral’	or similar rights. MGO may use the name, likeness,
     and biographical info of HOST and any personnel related thereto, for purposes of
     exploitation of the Program and any other right of MGO hereunder. HOST shall obtain
     and deliver to MGO executed agreements, in form and substance acceptable to MGO,
     from any and all personnel which are involved with the Production or Program due to
     HOST, prior to said person beginning his/her related services.

     9. CANCELLATION; TERMINATION: If either party purports to unilaterally
     cancel the Pageant, Production, or Program, or terminate this Agreement due to the fault
     of the other party, said party shall not be liable for any kind of damages to the party at
     fault. Otherwise, it shall immediately owe the other party “Liquidated Damages” in the
     amount of $750,000 US dollars, which amount the parties agree is a reasonable estimate
     of the damages which either party would suffer in such event; the Liquidated damages
     shall in no event be interpreted as a penalty. The foregoing shall not apply to (a)
     cancellation or termination due to an event of force majeure (meaning fire, earthquake,
     flood, or other natural disaster, act of war or terrorism, or similar event requiring
     cancellation or termination), or (b) where the parties negotiate in good faith and
     mutually agree in writing upon such cancellation or termination.

     10: RIGHT OF FIRST REFUSAL: MGO will grant HOST the first rights of refusal
     for a two (2) year License to Host and/or co-produce the MISS GLOBAL PAGEANT
     with an additional 1 year option to renew based on the minimum license renewal
     payment to MGO at $1,000,000USD for each year in addition to the following terms: If
     MGO presents a written offer of its proposed deal terms with the minimum licensing
     renewal fees as stated above for coproduction of the relevant subsequent pageant
     installment, and host rejects said offer (such as by counter offering) or MGO does not
     receive any written acceptance within five (5) business days, host shall be deemed to


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     have refused the offer and thus passed on the opportunity to produce that installment
     and all subsequent installments of the Miss Global Pageant. Multi year license with
     option to renew license for an additional 1 year is based on the following by HOST: (a)
     to measure the success and profitability of the co-production, net profit margin for Miss
     Global (meaning the pageant as a whole) must be above twenty percent (20%) for the
     previous year's event. If net profit margin does not meet MGO’s 20%, MGO will then
     have the full discretion and must be reasonably satisfied with the overall production,
     professionalism and cooperation in working with HOST (b) HOST is not in breach of
     agreement with MGO or otherwise related to the Pageant, and (c) HOST has not done
     anything that may defame or harm the reputation of Miss Global. (d) HOST must be
     able to pay the licensing fee accordingly to the agreed deadline date and/or match any
     bids offered to MGO to host the Miss Global Pageant.

     11. MISCELLANEOUS: Headings herein are for convenience only and shall not be
     used to limit the effect of any provision hereof. This Agreement shall inure to the
     benefit of MGO and its affiliates, and the successors, and assigns thereof, and the
     owners, managers, directors, officers, employees, and representatives thereof. Any
     credit which is expressly provided elsewhere in this Agreement shall be provided by
     MGO as follows: subject to the Work being use in the Program, in full-length DVD
     releases, and except as otherwise expressly provided in this Agreement all aspects such
     as size, style, placement, duration, and whether such credit is shared, shall be at MGO’s
     sole and absolute discretion. No part of this Agreement may be assigned (or delegated)
     by HOST. If HOST breaches any material obligation hereunder to MGO, MGO shall be
     entitled to terminate this Agreement, or certain or all of its own executory obligations,
     immediately upon written notice, in which case HOST is obligated to immediately
     deliver or return any and all raw footage, edit logs and other production and
     postproduction data and records, the Program and all elements and versions thereof, and
     other materials to MGO. In case of any dispute hereunder, the parties shall negotiate in
     good faith a settlement within thirty days; absent a resolution, the enforcement of the
     terms and provisions of this agreement shall be under the exclusive jurisdiction of any
     binding arbitration or regular courts in the USA and/or KOREA as determined by
     MGO, the resulting judgment of which may be enforced in any court of law and which
     shall award to the prevailing party its reasonable attorney’s fees and costs. This
     Agreement, and any part thereof, may be assigned by MGO. If any portion of this
     Agreement is adjudged invalid, it shall be curtailed to the extent of such invalidity, and
     all other portions shall remain in full force and effect. This Agreement shall be
     construed solely under the laws of USA and/or KOREA as determined by MGO. Any
     modification hereto shall be in writing, signed by an authorized signatory of the party
     against whom charged. This Agreement may be signed in separate counterparts. A
     faxed, scanned, or photographed signature shall be valid as an original.

     12. CONFIDENTIALITY: MGO and Host agree to keep this agreement confidential.

     13. NONCOMPETE COVENANT: For a period of 3 years from completion of
     hosting the Miss Global 2018 Pageant, HOST will not directly or indirectly engage in



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     any business that competes with MISS GLOBAL ORGANIZATION, specifically
     arranging and or producing international beauty pageants.

     14. NON-SOLICITATION COVENANT. For a period of 3 years after the effective
     date of this Agreement, HOST will not directly or indirectly solicit business from, or
     attempt to sell, license or provide the same or similar products or services as are now
     provided to, any customer or client of MISS GLOBAL ORGANIZATION, LLC.
     Further, for a period of 3 years after the effect date of this Agreement, HOST will not
     directly or indirectly solicit induce or attempt to induce any employee of MISS
     GLOBAL ORGANIZATION, LLC to terminate his or her employment with MISS
     GLOBAL ORGANIZATION, LLC.

     14. REPRESENTATIONS AND WARRANTIES: Each party represent and warrant
     to one another as follows:

            (a)    Experienced professionals with the qualifications to successfully
               organize and co-produce the Miss Global 2018 Pageant

            (b)     Each has the full power and authority to execute, deliver, and perform
               the obligations set forth in this Agreement.

            (c)     The execution and performance of this Agreement do not, and will not,
               contravene any provision of its establishment documents, or violate any
               applicable laws, and do not conflict with or result in a breach of any contract
               or other obligation to which it is a party or for which it may be bound.


     AGREED AND ACCEPTED
     by their respective authorized signatories:


     JIN SUNG                                        MISS GLOBAL ORGANIZATION, LLC



     _____________________________                   _____________________________
     Signature                                       Signature


     Kim Hyung Jun                                   Van M. Pham
     CEO/ CHAIRMAN                                   CEO/Founder


     _____________________________                   ___________________________
     Date                                            Date



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